Case 3:16-md-02738-MAS-RLS Document 89 Filed 01/20/17 Page 1 of 1 PagelD: 1388

COHEN / PLACITELLA / ROTH prc
ATTORNEYS ATF LAW
Aes
Geers
Se

CHRISTOPHER M. PLACITELLA
MANAGING NJ ATTORNEY

January 20, 2017

VIA ELECTRONIC FILING

Honorable Freda L. Wolfson, U.S.D.J.

United States District Court

Clarkson 8. Fisher Building & US Courthouse
402 East State Street

Trenton, NJ 08608

Inre: Johnson & Johnson Talcum Powder Products Marketing, Sales
Practices and Products Liability Litigation
USDC No: 3:16-md-2738-FLW-LHG
MDL No: 2738

Dear Judge Wolfson:

Enclosed please find Plaintiffs’ Proposed Status Conference Agenda for Monday’s
hearing in the above-referenced matter.

Respectfully,
/s/ Christopher M. Placitella

CHRISTOPHER M. PLACITELLA

CMP/bd

Attachment

cc: Honorable Lois H. Goodman, U.S.M.J. (via ECF)
All counsel of record (via ECF)

PHILADELPHIA, PA RED BANK, NJ LEMOYNE, PA BALA CYNWYD, PA PITTSBURGH, PA CHERRY HILL, NJ

127 MAPLE AVENUE / RED BANK, NEW JERSEY 07701
732.747.9003 / 888.375.7600 / FAX 732.747.9004 / cpriaw.com

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